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                                          No. 20-3202

                   UNITED STATES COURT OF APPEALS
                      FOR THE SEVENTH CIRCUIT


                            LATRINA COTHRON,
         individually and on behalf of all others similarly situated,
                             Plaintiff-Appellee

                                                 v.

                              WHITE CASTLE SYSTEM, INC.,
                                Defendant-Appellant

 Question of Law Certified by the United States District Court of Appeals for the Seventh Circuit,
                                        Case No. 20-3202

        Question of Law ACCEPTED on December 23, 2021 under Supreme Court Rule 20

On appeal from the United States District Court for the Northern District of Illinois under 28 U.S.C.
                                 § 1292(b), Case No. 19CV00382
                         The Honorable Judge John J. Tharp Presiding



     CIRCUIT RULE 52(b) STATEMENT OF POSITION OF
   DEFENDANT-APPELLANT WHITE CASTLE SYSTEM, INC.


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                            INTRODUCTION
      On February 17, 2023, the Illinois Supreme Court issued an

opinion in Cothron v. White Castle System, Inc., -- N.E.3d --, 2023 IL

128004, answering the question this Court certified regarding claim

accrual under Illinois’ Biometric Information Privacy Act (the “Privacy

Act”), 740 ILCS 14/1 et seq. See Dkt. 74-76. Pursuant to Seventh Circuit

Rule 52(b), Defendant-Appellant White Castle System, Inc. (“White

Castle”) submits its statement of position regarding what action ought

to be taken by the Court.

                               POSITION

      The Illinois Supreme Court has yet to issue the “mandate of the

reviewing court,” which it will do “not earlier than 35 days after the

entry of judgment unless the court orders otherwise.” Ill. S. Ct. R.

368(a). A timely filing of a petition for rehearing “will stay the mandate

until disposition of the petition unless otherwise ordered by the court.”

Id.

      On March 10, 2023, White Castle timely filed a Petition for

Rehearing. See Ex. A. The Illinois Supreme Court’s mandate is thus

stayed pending resolution of the Petition and the appeal remains



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pending. White Castle, therefore, respectfully makes two requests of

this Court.

     First, White Castle requests that the Court refrain from further

action in this matter until the Illinois Supreme Court resolves its

Petition for Rehearing.

     Second, White Castle requests that the Court order the filing of a

subsequent Circuit Rule 52(b) statement of position once the Illinois

Supreme Court resolves the Petition for Rehearing or, alternatively,

order supplemental briefing on any issues that remain to be decided

following resolution of the Petition.

                              CONCLUSION

     White Castle respectfully requests that the Court refrain from

further action until the Illinois Supreme Court resolves its Petition for

Rehearing and, upon resolution of the Petition, order the filing of

additional Rule 52(b) statements of position or supplemental briefing on

any remaining issues.

Dated: March 10, 2023              WHITE CASTLE SYSTEM, INC.

                                   /s/ Melissa A. Siebert
                                   Melissa A. Siebert




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                      CERTIFICATE OF SERVICE

     I hereby certify that on March 10, 2023, I electronically filed the

foregoing with the Clerk of the Court for the United States Court of

Appeals for the Seventh Circuit by using the CM/ECF system. I certify

that all participants in the case are registered CM/ECF users and that

service will be accomplished by the CM/ECF system.



                                       /s/ Melissa A. Siebert
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                      EXHIBIT A
                                                                   128004
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                                                                No. 128004

                                                                   In the

                                          Supreme Court of Illinois

                                                              LATRINA COTHRON,
                                                                                                  Plaintiff-Appellee,
                                                                      v.
                                                      WHITE CASTLE SYSTEM, INC.,
                                                                                              Defendant-Appellant.


                                                        _____________________________
                               Question of Law Certified by the United States District Court of Appeals
                                              for the Seventh Circuit, Case No. 20-3202
                        Question of Law ACCEPTED on December 23, 2021 under Supreme Court Rule 20
                   On Appeal from the United States District Court for the Northern District of Illinois under
                                         28 U.S.C. § 1292(b), Case No. 19 CV 00382
                                       The Honorable John J. Tharp, Judge Presiding.


                                                      PETITION FOR REHEARING



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                                                               INTRODUCTION

                                    Defendant-Appellant White Castle System, Inc. (“White Castle”)

                           petitions the Court for a rehearing, including new oral argument, in this

                           Illinois Supreme Court Rule 20(a) appeal of a certified question from the

                           United States Court of Appeals for the Seventh Circuit.1

                                    Pursuant to Illinois Supreme Court Rule 367, White Castle respectfully

                           requests that the Court reconsider three points that were overlooked or

                           misapprehended in the Opinion. Ill. Sup. Ct. R. 367(b) (eff. Nov. 1, 2017).2

                                    First, the Opinion overlooks fundamental and undisputed facts in the

                           record about the biometric technology at issue, and thus misapprehends how

                           biometric technology works. The record before the Court makes clear that

                           since 2004, every scan of Plaintiff’s alleged biometric identifier has been a

                           “subsequent authentication scan,” which simply compared a new finger scan

                           against what was already in the database to authenticate Plaintiff. See Section

                           I infra. There was no new loss of “secrecy” or control over biometric data with

                           each subsequent authentication scan, and thus no additional aggrievement.




                           1 White Castle appreciates that four of the seven Justices did not have the
                           benefit of oral argument where they could have asked questions or requested
                           further briefing to address any of their concerns. This is all the more reason
                           to order a rehearing and reconsideration.
                           2As used herein, “Opinion” refers to the majority opinion of the Court in this
                           appeal, which begins on Paragraph 1, and “Dissent” refers to the opinion of
                           Justice Overstreet, which begins on Paragraph 47. See Cothron v. White Castle
                           Sys., Inc., 2023 IL 128004.


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                           West Bend Mut. Ins. Co. v. Krishna Schaumburg Tan, Inc., 2021 IL 125978,

                           ¶ 46.

                                    Indeed, as the Dissent recognized, the Court’s own Privacy Act cases do

                           not support the Opinion’s conclusion. See Dissent ¶ 53. The Privacy Act

                           codifies a secrecy interest in biometric data. West Bend, 2021 IL 125978, ¶ 46.

                           Secrecy is destroyed at the point of “the lost opportunity” to withhold informed

                           consent. McDonald v. Symphony Bronzeville Park, LLC, 2022 IL 126511, ¶ 43

                           (citing Rosenbach v. Six Flags Entm’t Corp., 2019 IL 123186, ¶ 34). At that

                           point a “precise harm” occurs, the Privacy Act right “vanishes into thin air,”

                           and the claim accrues. Rosenbach, 2019 IL 123186, ¶ 33-34. Injury cannot

                           therefore recur absent a new loss of secrecy, which did not occur here. See

                           Dissent ¶ 53.

                                    Second, the Opinion’s statements about damages under the Privacy Act

                           overlook and misapprehend the Court’s precedent, principles of constitutional

                           avoidance, and the plain language of the Privacy Act—specifically, the private

                           right of action, liquidated damages, and fee-shifting provisions in Privacy Act

                           Section 20. Given the astronomical damages regime the Opinion contemplates,

                           a fresh look is warranted.

                                    Third, the Opinion overlooks the clear constitutional consequences of its

                           construction of the Privacy Act. The Opinion notes that damages “appear[]” to

                           be “discretionary” (Opinion ¶ 42), but without guidance or clarification, the Act

                           is rendered unconstitutionally vague. Judges and juries are permitted to set




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                           Privacy Act damages on an ad hoc basis with no guiding standards, causing

                           constant uncertainty borne from the looming potential for ruinous damages.

                           At minimum, White Castle respectfully requests that the Court grant

                           rehearing to clarify paragraphs 40 through 43 of the Opinion and provide

                           guidance on how Privacy Act damages should be calculated.

                                                                  ARGUMENT

                           I.       The Opinion Is Irreconcilable With the Record.

                                    White Castle’s position is, and always has been, that collection and

                           disclosure occur only when an entity first collects or discloses purported

                           biometric information. This makes sense because of the way biometric data

                           systems work.

                                    First, a user “enrolls” or “registers” in the system by providing a physical

                           characteristic like a fingertip, which is scanned and converted to a template.

                           That template is then assigned to the user and stored in a database.

                           Subsequently, in the matching stage, the user provides the same, previously

                           scanned physical characteristic (e.g. their fingertip scan), which is transmitted

                           to the biometric system and compared to the information already stored there

                           to verify that the user is who they claim to be.              To use the Opinion’s

                           terminology, the scan at the matching stage is a “subsequent authentication

                           scan.” Opinion ¶ 23. There is no new loss of control, privacy or secrecy in these

                           subsequent authentication scans, and thus no actionable, additional

                           aggrievement. Dissent ¶ 53.




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                                    This fundamental understanding of how the technology works is not

                           disputed, and is supported by the record, including:

                                         •    The original complaint filed in this matter asserts that Plaintiff

                                              enrolled in a finger-scan system as a “means of authentication”

                                              and she subsequently scanned her finger each time she accessed

                                              a White Castle computer. (R1, at 1-2 ¶¶ 2, 5; R1, Ex. 1, at 9-10,

                                              ¶¶ 42-44, at 12, ¶¶ 56-60.)3

                                         •    The operative complaint in this matter, which states Cothron

                                              scanned and registered her finger so White Castle could

                                              subsequently use it as an authentication method for computer

                                              and paystub access. (R44, ¶ 40.)

                                         •    The presentation of the facts by both sides in this appeal. Reply

                                              Br. at 23-24 (“Subsequent scans merely compare a new scan to

                                              previously collected data.”); Cothron Br. at 4 (White Castle

                                              repeated same verification conduct for “at least ten years” with

                                              respect to Cothron’s finger scans.).

                                    Below, we discuss how overlooking these facts led to the errors that the

                           Court can correct upon rehearing.




                           3All “R__” citations refer to documents on the federal district court docket that
                           are not included in White Castle’s Opening Brief Appendix. For example, R1
                           refers to Docket Entry No. 1.


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                                       A.       Every Scan After Cothron’s First                   Scan   Was   a
                                                “Subsequent Authentication Scan.”

                                    White Castle’s position is that after Cothron enrolled in the finger-scan

                           technology in 2004, every subsequent use must be considered a “subsequent

                           authentication scan.”              In the Opinion, however, the majority stated that

                           Cothron’s ongoing use of the technology was “belied by the position White

                           Castle took below.” Opinion ¶ 23. As set forth below, this statement reflects a

                           misunderstanding of the record, which clearly impacted the Opinion’s

                           reasoning. A rehearing is therefore warranted.

                                    Cothron was a Chicago-based White Castle employee from 2004 until

                           2022. (R118 at 23-24, ¶¶ 2-9.)4 Within her first few months of employment,

                           she began using White Castle’s consent-based finger-scan system. (Id. at 24,

                           ¶ 6.)5 The record therefore demonstrates that Cothron first enrolled in the

                           system in 2004. From that point forward, every use of the system by her was

                           a “subsequent authentication scan.”

                                    The Privacy Act was enacted in 2008. Until then, Illinois law did not

                           require consent for the collection or disclosure of biometric information. Thus,

                           Cothron could not have brought a claim until 2008. It is for this reason White

                           Castle has taken the position that no injury could have occurred until 2008; no

                           collection or disclosure regulated by the Act could have occurred until then.


                           4Cothron’s end-of-work date is not in the record but she no longer works for
                           White Castle as of the filing of this Petition.
                           5Although Cothron first consented to use the system in 2004, that consent is
                           not directly at issue in this appeal. Id.


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                           The fact remains that every use of the system by Cothron after her enrollment

                           in 2004 was a subsequent authentication scan.

                                    The Opinion states that White Castle took a different position before

                           this Court than it took below regarding whether a subsequent authentication

                           scan is a “collection” or “capture” under the Privacy Act. Opinion ¶ 23. That

                           is a misapprehension. White Castle has never conceded that a subsequent

                           authentication scan is a “collection” or “capture,” nor has White Castle ever

                           conceded that Plaintiff’s first subsequent authentication scan in 2008 gave rise

                           to a Privacy Act claim. White Castle has argued only that scans before 2008

                           could not have given rise to a Privacy Act claim because the Act did not yet

                           exist.     Therefore, White Castle has been consistent in its argument that

                           Cothron’s claim accrued “if ever” or “if at all” upon her first use of the

                           technology after the Act’s enactment in 2008. See Opening Br. at 8, 12, 21;

                           (R120 at 7.)

                                       B.       A “Subsequent Authentication Scan” Does Not Result in
                                                a New Invasion or a New Injury, Because It Results in No
                                                Loss of Secrecy.

                                    As Justice Neville wrote for a unanimous Court in the West Bend case,

                           the Act “protects a secrecy interest—here, the right of an individual to keep his

                           or her personal identifying information like fingerprints secret.”         2021 IL

                           125978, ¶ 46 (emphasis added). Discussing claims under Section 15(d) of the

                           Privacy Act, the Court explained that “disclosing a person’s biometric

                           identifiers or information without his or her consent or knowledge necessarily

                           violates that person’s right to privacy in biometric information.” Id. Once


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                           biometric data is allegedly obtained by or disclosed to a third party, the

                           individual’s “right to keep certain information confidential” is violated, and

                           that information’s “secrecy” is lost. Id. ¶ 45; Dissent ¶¶ 50, 53 (“[T]his court

                           stated that the Act ‘protects a secrecy interest,’” and control is lost “upon the

                           first scan.” (quoting West Bend, 2021 IL 125978, ¶ 46)); see also McDonald v.

                           Symphony Bronzeville Park, LLC, 2022 IL 126511, ¶ 43 (Section 15(b) claim

                           “seeks redress for the lost opportunity ‘to say no by withholding consent.’”

                           (quoting Rosenbach, 2019 IL 123186, ¶ 34)).

                                    As they are bound by this Court’s precedent, the Appellate Court and

                           federal courts sitting in diversity jurisdiction have adopted, relied upon, and

                           built upon this reasoning. For example, in the recent case of Barnett v. Apple

                           Inc., the Appellate Court affirmed the dismissal of Privacy Act claims against

                           Apple where the plaintiffs pled that Apple designed the purported biometric

                           technology to store biometrics on the users’ own devices. 2022 IL App (1st)

                           220187, ¶¶ 1-3. Applying the plain meaning of the terms “possession” and

                           “collect,” the Appellate Court found Apple did not have sufficient “control” over

                           the data to be subject to the Privacy Act. Id. ¶¶ 42-44, 55. Rather, the plaintiffs

                           retained control at all times: “it is the user herself who utilizes these tools to

                           capture her own biometric information.” Id. ¶ 44. Since the plaintiffs never

                           lost control of their data, there was no violation of the Act. Id. ¶¶ 42-44, 55;

                           see also Johnson v. NCR Corp., No. 22 C 3061, 2023 WL 1779774, at *2 (N.D.

                           Ill. Feb. 6, 2023) (“Because BIPA does not include a definition for ‘possession’




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                           . . . courts have looked to the term’s ‘popularly understood’ or ‘settled legal’

                           meaning of exercising dominion or control.” (citing Rosenbach, 2019 IL 123186,

                           ¶29; Barnett, 2022 IL App (1st) 220187, ¶¶42; 740 Ill. Comp. Stat. 14/10; and

                           federal district court cases)).

                                    Respectfully, the Court’s Opinion materially deviates from the

                           animating reasoning of West Bend, Rosenbach, McDonald, and their progeny.

                           Most notably, the Opinion converts the injury under the Act from an invasion

                           of an individual’s “secrecy interest” in—and “control” over—their purported

                           biometrics into a purely procedural statutory violation. These are mutually

                           exclusive categories. On the one hand, secrecy cannot be recreated. Once it is

                           lost, it cannot be lost again. On the other hand, a procedural failure can

                           happen over and over again. By ruling that an individual providing a single

                           biometric datum to a single employer may nonetheless be “aggrieved”

                           thousands of times under the Act, the Court effectively set aside its recent

                           precedent to hold a procedural violation, and not the loss of secrecy and control,

                           to be the accruing injury under the Act.

                                    This same deviation from established precedent can be seen in the

                           Opinion’s conflation of the initial enrollment and each subsequent

                           authentication scan.               Initial enrollment results in either a “biometric

                           identifier” or “biometric information” being associated with an individual in

                           some manner and stored in a database for the purpose of authenticating the

                           individual going forward. As discussed in West Bend and Rosenbach, initial




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                           enrollment is the point at which the privacy associated with the information is

                           lost pursuant to the statute and the injury is complete. See West Bend, 2021

                           IL 125978, ¶ 46; Rosenbach, 2019 IL 123186, ¶ 34.

                                    In contrast, subsequent authentication scans merely compare an

                           anonymous scan with information previously collected upon enrollment. If a

                           “match” is found, the user may access the system. If there is no match, the

                           scan remains anonymous. No new or additional biometrics are “collected” and

                           secrecy is maintained.

                                    This makes sense. Secrecy cannot be recreated—a bell cannot be “un-

                           rung.” A subsequent authentication scan thus cannot result in a further loss

                           of secrecy. Here, the user simply provides the same data as before to verify

                           that she is who she claims to be (or a non-user submitting data that never

                           matches at all, and thus stays anonymous).              Dissent ¶ 53 (There is no

                           additional loss of control “whether the same finger is scanned a few times or

                           one million times. The individual loses control over it only once.”). The Court

                           should reconsider on this basis alone—Plaintiff’s post-2004 scans resulted in

                           no loss of secrecy and, thus, no injury.             The best way to correct this

                           misapprehension would be to grant White Castle a rehearing and the

                           opportunity to answer the Court’s questions.

                           II.      The Opinion Misapprehends the Statutory Text of the Act’s
                                    Private Right of Action and Damages Provisions and Untethers
                                    Them From Illinois Law.

                                    Through its appeal, White Castle asked the Court to consider the Act’s

                           text and the legislature’s intent. And, indeed, the Opinion notes that the


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                           legislature did not appear to authorize damages awards “that would result in

                           the financial destruction of a business.” Opinion ¶ 42. The Court should have

                           taken that finding into account when considering the legislature’s provision of

                           a private right of action and liquidated damages. See Dissent ¶ 62 (The Court

                           was “asked to determine legislative intent by considering the consequences of

                           construing the statute one way or another.”); id. ¶ 59 (a construction that leads

                           to an “absurd result must be avoided”).

                                    Further, the Opinion recognizes that its claim accrual holding could

                           result in “harsh, unjust, absurd or unwise” damages awards. Opinion ¶ 40

                           (internal quotation marks omitted). Such awards could include the $17.1

                           billion White Castle estimated it could owe under a “per-scan damages” theory.

                           Opening Br. at 45. The Opinion acknowledges the crushing liability its holding

                           generates, but it deems the damages problem a “policy” issue that must be

                           resolved by the General Assembly and via discretion to the lower courts. See

                           Opinion ¶ 43.

                                    Respectfully, the General Assembly has already resolved this “policy”

                           issue by clearly signaling its intent that damages under the Act should not

                           accumulate on a per-scan basis. The General Assembly did so by incorporating

                           important features into the private right of action that the Opinion either

                           overlooked or misconstrued. Indeed, Section 20 of the Act demonstrates that

                           the legislature intended for an individual plaintiff engaged in a single course

                           of contact with a single defendant—such as employee timekeeping or unlocking




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                           a phone or laptop—to have a single claim per subsection of the statute, not

                           thousands.

                                    Section 20 of the Privacy Act compels this conclusion, as it provides in

                           full:

                                    Sec. 20. Right of action. Any person aggrieved by a violation of
                                    this Act shall have a right of action in a State circuit court or as a
                                    supplemental claim in federal district court against an offending
                                    party. A prevailing party may recover for each violation:

                                    (1) against a private entity that negligently violates a provision of
                                    this Act, liquidated damages of $1,000 or actual damages,
                                    whichever is greater;

                                    (2) against a private entity that intentionally or recklessly
                                    violates a provision of this Act, liquidated damages of $5,000 or
                                    actual damages, whichever is greater;

                                    (3) reasonable attorneys’ fees and costs, including expert witness
                                    fees and other litigation expenses; and

                                    (4) other relief, including an injunction, as the State or federal
                                    court may deem appropriate.

                           740 ILCS 14/20 (emphasis added).

                                    The General Assembly showed its intent in this plain text in three

                           important ways. First, by requiring aggrievement as a threshold requirement

                           to bring a claim, the legislature again expressly tied the right to bring a claim,

                           and the ability to recover, to the plaintiff’s injury—i.e., the one-time loss of

                           secrecy in and control over one’s information.           Second, by providing for

                           “liquidated damages,” the General Assembly made clear its choice that a

                           recovery must be a reasonable approximation of the plaintiff’s damages. Third,

                           by providing for the award of attorneys’ fees, costs, expert witness fees, and



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                           litigation expenses, the General Assembly sent a clear signal that individual

                           damages would likely be small, and that fee-shifting would be necessary to

                           incentivize enforcement.

                                       A.       The Opinion Writes the Term “Aggrieved” Out of the Act,
                                                Which Is Contrary to the Plain Text of the Act and to
                                                Rosenbach.

                                    The Opinion holds that “the statutory violation itself is the ‘injury’ for

                           purposes of a claim under the Act” and that all the court need consider is

                           “whether a statutory provision was violated.” Opinion ¶¶ 38-39 (citations

                           omitted). These statements cannot be squared with either Rosenbach or the

                           statutory text. Rosenbach clearly stood for the proposition that a plaintiff must

                           allege a “violation of his or her rights under the Act in order to qualify as an

                           ‘aggrieved’ person.”               2019 IL 123186, ¶ 40.   Rosenbach also drew a clear

                           distinction between the privacy rights protected by the Act and the procedural

                           safeguards (policy, notice and consent requirements) provided by the Act to

                           protect those rights. Id. ¶¶ 33-34. By treating the privacy right and the

                           procedural safeguards as one and the same, the Opinion misconstrues

                           Rosenbach, if not overruling it entirely.

                                    Under the plain language of the Privacy Act, only a “person aggrieved

                           by a violation” has a claim. 740 ILCS 14/20.                  In Rosenbach, the Court

                           considered what it means to be “aggrieved” under the Act, after the defendant

                           argued the plaintiff was not aggrieved because he “suffered no actual or

                           threatened injury.” 2019 IL 123186, ¶ 12. Rosenbach rejected the argument,

                           explaining that aggrievement includes “having legal rights that are adversely


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                           affected.”       Id. ¶ 32 (quoting Black’s Law Dictionary 77 (9th ed. 2009)).

                           Rosenbach then explained that “through the Act, our General Assembly has

                           codified that individuals possess a right to privacy in and control over their

                           biometric identifiers and biometric information.”        Id. ¶ 33.   According to

                           Rosenbach, because an initial collection of biometric identifiers or biometric

                           information from an individual causes a loss of control, unless the Act’s

                           procedural safeguards are followed, a claim arises upon that first collection,

                           regardless of whether any additional injury is pleaded or proved. Id. ¶ 34.

                                    While answering the certified question here, the Opinion abrogates

                           Rosenbach, by confusing the statutory right that the General Assembly

                           created—the right of privacy in and control over biometric identifiers and

                           biometric information—with the prophylactic “safeguards” that the Act creates

                           to protect that right. The Opinion states that “Rosenbach clearly recognizes

                           the statutory violation itself is the ‘injury’ for purposes of a claim under the

                           Act.” Opinion ¶ 38. To the contrary, Rosenbach repeatedly stated that the

                           injury at issue was the loss of the right to privacy in and control over biometric

                           identifiers and biometric information. 2019 IL 123186, ¶¶ 33-38.

                                    The Act vests in individuals and customers the right to control
                                    their biometric information by requiring notice before collection
                                    and giving them the power to say no by withholding consent.
                                    These procedural protections “are particularly crucial in our
                                    digital world because technology now permits the wholesale
                                    collection and storage of an individual’s unique biometric
                                    identifiers—identifiers that cannot be changed if compromised or
                                    misused.” When a private entity fails to adhere to the statutory
                                    procedures, as defendants are alleged to have done here, “the right
                                    of the individual to maintain [his or] her biometric privacy



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                                    vanishes into thin air. The precise harm the Illinois legislature
                                    sought to prevent is then realized.”

                           Rosenbach, 2019 IL 123186, ¶ 34 (emphasis added) (alteration in original)

                           (citation omitted); Dissent ¶ 53 (“the ‘precise harm’ the legislature was

                           addressing was an individual’s loss of the right to maintain biometric privacy”

                           (quoting Rosenbach, 2019 IL 123186, ¶¶33-34)). The injury associated with a

                           Privacy Act claim is not the failure to provide the procedural protections

                           provided by the Act, but the resulting loss of the right to maintain biometric

                           privacy.       Rosenbach, 2019 IL 123186, ¶ 36 (discussing the “safeguards”

                           supplied by the Act).              Accordingly, it is not the failure to provide the

                           protections, but the “violation of [the plaintiff’s] rights under the Act” that

                           make a plaintiff “qualify as an ‘aggrieved’ person and be entitled to seek

                           liquidated damages and injunctive relief pursuant to the Act.” Id. ¶ 40.

                                    Moreover, the Opinion eliminates the important term “aggrieved” from

                           the Act. The Opinion holds that a statutory private right of action provision

                           that states “any person aggrieved by a violation of this Act shall have a right

                           of action” (740 ILCS 14/20 (emphasis added)) actually means that any person

                           who experiences a violation of the Act shall have a right of action.             In

                           Rosenbach, the Court took great care in explaining how the statutory violation

                           before it caused, but was not itself, an aggrievement under the Act by

                           impairing statutory privacy rights. The Opinion here undoes this carefully

                           considered precedent by holding that any technical violation of the statute in

                           and of itself raises a claim. Reconsideration is warranted on this basis.



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                                       B.       The General Assembly’s Choice to Allow “Liquidated
                                                Damages” is a Textual Argument the Court Should
                                                Consider.

                                    In the course of conducting a “textual analysis” of when a claim accrues

                           and its necessary impact on damages, the Court must look to and consider the

                           text of Section 20. While the Opinion characterizes liquidated damages as a

                           “nontextual argument,” (Opinion ¶¶ 32, 40), respectfully, arguments premised

                           on statutory language and the General Assembly’s word choice are in fact

                           textual arguments. See State Bank of Cherry v. CGB Enters., Inc., 2013 IL

                           113836, ¶ 56 (approving the Eighth Circuit’s “detailed textual analysis” of a

                           statute, as “the primary objective of statutory construction is to give effect to

                           the intent of the legislature, and the most reliable indicator of intent is the

                           statutory language itself”).

                                    First, the Court overlooked the significance of the General Assembly’s

                           choice to have the Act provide for awards of “liquidated damages” within the

                           Act’s greater context. See 740 ILCS 4/20. Most notably, the requirement that

                           a person be “aggrieved,” discussed above, is in harmony with the fact that the

                           Act also provides for liquidated damages. To be aggrieved is to be harmed, and

                           liquidated damages are intended to approximate harm. See, e.g., Smart Oil,

                           LLC v. DW Mazel, LLC, 970 F.3d 856, 863 (7th Cir. 2020) (under Illinois law,

                           “liquidated damages” refer to a reasonable estimate of harm that “bear[s] some

                           relation to the damages that might occur”); Black’s Law Dictionary, “Damages”

                           (11th ed. 2019) (defining “liquidated damages” in contrast to a “penalty” as a

                           “reasonable estimation of actual damages”). Liquidated damages would be


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                           inappropriate and excessive if provided to a plaintiff not aggrieved by a

                           violation.

                                    Second, the meaning of the General Assembly’s choice to have the Act

                           provide liquidated damages is both extremely significant and well settled.

                           Existing law is crystal clear that liquidated damages are intended to be a

                           reasonable approximation of actual damages when actual damages would be

                           small, uncertain, or hard to quantify. Liquidated damages arise out of contract

                           law.     Black’s Law Dictionary6 defines them as: “An amount contractually

                           stipulated as a reasonable estimation of actual damages to be recovered by one

                           party if the other party breaches.”             Black’s Law Dictionary, “liquidated

                           damages” (11th ed. 2019). In contrast, Black’s defines “statutory penalty” as

                           “a penalty imposed for a statutory violation; esp., a penalty imposing automatic

                           liability on a wrongdoer for violation of a statute’s terms without reference to

                           any actual damages suffered.” Black’s Law Dictionary, “statutory penalty”

                           (11th ed. 2019). Black’s also provides tools for distinguishing a liquidated

                           damage from a penalty and explains when the damages amount is “far in

                           excess of the probable damage on breach, it is almost certainly a penalty.”

                           Black’s Law Dictionary, “liquidated damages” (11th ed. 2019).




                           6 The Court “may consult [dictionaries] when, as here, attempting to ascertain
                           the plan and ordinary meaning of a statutory term where the term has not
                           been specifically defined by the legislature.” Rosenbach, 2019 IL 123186, ¶ 32
                           (consulting both Black’s Law Dictionary 77 (9th ed. 2009) and Merriam-
                           Webster’s Collegiate Dictionary 25 (11th ed. 2006) for the definition of
                           “aggrieved”).


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                                    The difference between “liquidated damages” and penalties also is

                           discussed in the Restatement (Second) of Contracts:

                                    Damages for breach by either party may be liquidated in the
                                    agreement but only at an amount that is reasonable in the light
                                    of the anticipated or actual loss caused by the breach and the
                                    difficulties of proof of loss. A term fixing unreasonable large
                                    liquidated damages is unenforceable on grounds of public policy
                                    as a penalty.

                           Restatement (Second) of Contracts § 356(1) (1979).7

                                    Illinois courts have explored the difference between liquidated damages

                           and penalties in the contract context numerous times. They have consistently

                           held that a liquidated damages provision is one that is intended to approximate

                           actual damages. See, e.g., GK Dev., Inc., v. Iowa Malls Fin. Corp., 2013 IL App

                           (1st) 112802, ¶ 49 (explaining the factors distinguishing between liquidated

                           damages and penalties include whether “the amount . . . was reasonable . . .

                           bearing some relation to the damages which might be sustained” and whether

                           “actual damages would be uncertain in amount and difficult to prove”);

                           Jameson Realty Grp. v. Kostiner, 351 Ill. App. 3d 416, 423 (1st Dist. 2004)

                           (same); see also Smart Oil, 970 F.3d at 863 (7th Cir. 2020) (explaining that

                           liquidated damages must “bear[] some relation to the damages that might

                           occur”).




                           7 Illinois courts have adopted and relied upon this exact provision of the
                           Restatement (Second) of Contracts. See, e.g., Penske Truck Leasing Co., L.P.
                           v. Chemetco, Inc., 311 Ill. App. 3d 447, 454 (5th Dist. 2000).


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                                    Against this backdrop, the General Assembly chose to have the Privacy

                           Act provide for liquidated damages. The General Assembly could have chosen

                           to impose a penalty. It did not. It could have chosen to provide for statutory

                           damages. It did not. The General Assembly’s choice is a clear indication of its

                           intent that damages should closely approximate actual damages. Dissent ¶ 63

                           (“nor did the legislature intend to impose damages wildly exceeding any

                           remotely reasonable estimate of harm”). Surely, in the situation presented

                           here—and the vast majority of other Privacy Act cases—where no data breach

                           or misuse of biometrics is alleged, billions in damages is not an approximation

                           of actual injury. Id. ¶ 63 (“[T]he statute’s provision of liquidated damages

                           between $1000 and $5000 is itself evidence that the legislature did not intend

                           to impose ruinous liability on businesses.”). Accordingly, the Opinion cannot

                           be reconciled with the General Assembly’s choice to ensure that recovery for

                           violations of the Act must bear some relation to damages that may actually

                           occur.

                                       C.       By Providing for Attorneys’ Fees, the General Assembly
                                                Signaled Its Expectation That Claims Would Be Small.

                                    The General Assembly also made clear its intention that the Act should

                           not be construed to provide for excessive damages when it provided for

                           attorneys’ fees and costs. Illinois follows the American Rule, which prohibits

                           prevailing parties from recovering their attorneys’ fees from the losing party,

                           absent express statutory or contractual provisions. Morris B. Chapman &

                           Assocs., Ltd. v. Kitzman, 193 Ill. 2d 560, 572 (2000).          The United States



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                           Supreme Court described the purposes of the American Rule as follows:

                           “[S]ince litigation is at best uncertain one should not be penalized for merely

                           defending or prosecuting a lawsuit, and [that] the poor might be unjustly

                           discouraged from instituting actions to vindicate their rights if the penalty for

                           losing included the fees of their opponents’ counsel.” Fleischmann Distilling

                           Corp. v. Maier Brewing Co., 386 U.S. 714, 718 (1967), superseded by statute on

                           other grounds in Nightengale Home Healthcare, Inc. v. Anodyne Therapy, LLC,

                           626 F.3d 958 (7th Cir. 2010). When the General Assembly elects to provide for

                           statutory attorneys’ fees, it does so in circumstances where these policy

                           considerations are reversed, including when damages are limited and absent

                           recovery of attorneys’ fees, parties might be discouraged from bringing a claim

                           to vindicate their rights.

                                    By way of example, the General Assembly has provided for a prevailing

                           employee to recover attorneys’ fees in wage actions where the amount of wages

                           sought “is justly due and owing, and [ ] a demand was made in writing at least

                           3 days before the action was brought, for a sum not exceeding the amount so

                           found due and owing.” 705 ILCS 225/1. Similarly, the General Assembly

                           allows lessees to recover attorneys’ fees from lessors for both the failure to

                           supply the statement required by the Security Deposit Return Act (765 ILCS

                           710/1) and the refusal to pay interest on a security deposit (765 ILCS 715/1).

                                    The General Assembly also commonly provides for attorneys’ fees in

                           statutes, like the Privacy Act, which provide for the greater of actual damages




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                           or a small amount of liquidated damages.           See, e.g., 410 ILCS 513/40(a)

                           (providing for liquidated damages of $2,500 or $15,000 and attorneys’ fees and

                           costs for violations of the Genetic Information Privacy Act); 410 ILCS 305/13

                           (providing for liquidated damages of $2,000 or $10,000 and attorneys’ fees for

                           violations of the AIDS Confidentiality Act); 50 ILCS 355/5-60(d) (providing for

                           liquidated damages of $5,000 or $10,000 and attorneys’ fees and costs for

                           violations of the Local Government Revenue Recapture Act); 625 ILCS 5/6-

                           117.1 (providing for liquidated damages of $250 and attorneys’ fees and costs

                           for the misuse of driver’s license information); 225 ILCS 510/14.3 (providing

                           for liquidated damages of $1,500 and attorneys’ fees and costs for violations of

                           the contract provisions in the Nurse Agency Licensing Act).

                                    Each of the above examples involves a situation where the policies

                           underlying the American Rule are inverted. Where the damages potentially

                           at stake are minimal, such when a lessor refuses to pay interest on a security

                           deposit, an individual would be discouraged from bringing an action, and an

                           attorney would be disincentivized to take on the action, absent the ability to

                           recover statutory attorneys’ fees. As illustrated by these statutes, the very

                           purpose of statutory fee-shifting is to encourage clients and lawyers to bring

                           claims that otherwise would not be worth the time and effort.

                                    In contrast, where damages are potentially massive, as under the

                           Opinion’s interpretation of the Privacy Act, the policies underlying the

                           American Rule are directly implicated. If a single individual plaintiff can




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                           recover millions, there is ample incentive for plaintiffs to bring Privacy Act

                           claims and there would be no shortage of lawyers to represent them on a

                           contingent-fee basis. Meanwhile, Defendants faced with potentially colossal

                           liability would be disincentivized from aggressively defending themselves if

                           they were also faced with the additional burden of paying for the plaintiff’s

                           lawyer.

                                    The General Assembly was certainly aware of these policy concerns

                           when choosing to provide attorneys’ fees to a plaintiff who prevails in a Privacy

                           Act action. The General Assembly’s choice to provide for attorneys’ fees—like

                           its choice to provide for liquidated damages only to those aggrieved under the

                           Act—demonstrates that it never intended the damages to escalate in the

                           manner resulting from per-scan claim aggregation.

                           III.     The Court Has Overlooked Constitutional Problems That
                                    Directly Arise From Its Holding.

                                    Reconsideration is also warranted because the Opinion creates serious

                           constitutional problems. See Dissent ¶ 60 (the Court has a duty to consider

                           the “consequences of construing the Act one way or another”). Specifically, the

                           Court should reconsider its holding in light of both the vagueness doctrine and

                           the constitutional avoidance doctrine.          The Opinion renders the Act’s

                           liquidated damages provision impermissibly vague and constitutionally infirm

                           by creating a discretionary standard for imposing damages—damages that

                           could be ruinous—without any standards or guideposts to cabin that

                           discretion. Further, the Court should consider the constitutional avoidance



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                           doctrine because the Opinion embraces damages awards it describes as

                           “potentially excessive” (Opinion at ¶ 43) and “harsh, unjust, absurd, or unwise”

                           (Opinion at ¶ 41 (internal quotation marks omitted)), while overlooking the

                           Due Process consequences that unfettered damages awards create.

                                       A.       The Opinion Renders the Privacy Act’s Liquidated
                                                Damages Constitutionally Infirm Under the Due Process
                                                Clause and the Void for Vagueness Doctrine.

                                    As the Privacy Act stands in light of the Opinion, its scheme for imposing

                           liquidated damages is constitutionally void for vagueness.           Due process

                           requires states like Illinois to provide meaningful standards to guide the

                           application of its laws. See Kolender v. Lawson, 461 U.S. 352, 358 (1983). A

                           statute that lacks such standards is void. Id. at 361.

                                    A statute is impermissibly vague if it fails to inform potential violators

                           “that certain conduct is prohibited, inform them of the potential penalties that

                           accompany noncompliance, and provide explicit standards for those who apply

                           the law.” Harris v. Mexican Specialty Foods, Inc., 564 F.3d 1301, 1306, 1311

                           (11th Cir. 2009) (emphasis added) (citing Grayned v. City of Rockford, 408 U.S.

                           104, 108-09 (1972) in applying void-for-vagueness doctrine to Fair Credit

                           Reporting Act’s statutory damages provision). A statute cannot delegate “basic

                           policy matters to . . . judges [and] juries for resolution on an ad hoc and

                           subjective basis, with the attendant dangers of arbitrary and discriminatory

                           application.” Id. at 1312 (quoting Grayned, 408 U.S. at 108-09).8 In Giaccio v.


                           8The void-for-vagueness doctrine applies to civil as well as criminal statutes.
                           Giaccio v. Pennsylvania, 382 U.S. 399, 402 (1966) (due process protections are


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                           Pennsylvania, the United States Supreme Court struck down on vagueness

                           grounds a statute that permitted juries to assess costs without any standards

                           against acquitted criminal defendants.           382 U.S. at 401-02.    The Court

                           explained a statute may not leave “judges and jurors free to decide, without

                           any legally fixed standards, what is prohibited and what is not in each

                           particular case.” Id. at 401-03.

                                    The Opinion construes the Privacy Act in a manner that fails for

                           precisely the same reasons.           The Privacy Act does not inform a potential

                           violator of the “potential penalties that accompany noncompliance”—penalties

                           that can destroy a business. Nor does it provide “explicit standards” for those

                           who apply the law. Harris, 564 F.3d at 1311. Under the construction in the

                           Opinion, it does the opposite. The Opinion notes that damages “appear” to be

                           “discretionary.” See Opinion ¶ 42. A judge or a jury now has the discretion to

                           award no liquidated damages or billions in damages for the same conduct.

                           There is no guidance or criteria for who pays nothing and who suffers

                           “annihilative liability.” See Opinion ¶ 40. This is no “narrow, statutorily

                           established range” for privacy violation damages. See Harris, 564 F.3d at 1312.

                           The now standardless imposition of liquidated damages under the Privacy Act




                           “not to be avoided by the simple label a State chooses to fasten upon its conduct
                           or its statute”). The vagueness standard for civil consequences may be “less
                           strict,” but scrutiny intensifies in proportion to the severity of the penalty
                           imposed. Harris, 564 F.3d at 1310-11 (quoting Vill. of Hoffman Ests. v.
                           Flipside, Hoffman Ests., Inc., 455 U.S. 489, 498-99 (1982)). Here, the severity
                           of the potential damages awards warrants heightened scrutiny.


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                           is a “basic policy matter[]” that cannot be left for ad hoc resolution by judges

                           and juries. See id. at 1310-12.

                                    The Opinion recognizes this problem. Indeed, it concludes with a direct

                           appeal to the legislature to “review policy concerns” and “make clear its intent”

                           regarding the “potentially excessive damage awards” that may result from its

                           construction. Opinion ¶ 43. This request for future clarification, however,

                           cannot save the Privacy Act from its present vagueness. The Act, as construed

                           in the Opinion, is impermissibly vague and a rehearing on this issue is

                           warranted.

                                    At minimum, White Castle respectfully requests that the Court clarify

                           paragraphs 40 through 43 of the Opinion and provide guidance regarding the

                           imposition of Privacy Act damages. These paragraphs highlight the conflicts

                           that result from the Opinion’s accrual construction: Section 20 permits

                           recovery for “each violation”; damages “appear” to be discretionary; class

                           members should be compensated and future violations deterred “without

                           destroying defendant’s business”; and policy concerns exist over “excessive

                           damages awards.” Opinion ¶¶ 40-43. There are no current standards to

                           impose damages under the Privacy Act, and absent clarification, the

                           constitutional issues discussed above loom large and warrant a rehearing.

                                       B.       The Court Should Consider the Due Process Implications
                                                of Its Holding.

                                    Rehearing is also warranted because the Opinion overlooks the

                           constitutional avoidance doctrine. White Castle discussed the doctrine in its



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                           Opening Brief and explained that excessive Privacy Act damages create

                           constitutional issues under the Due Process Clause of the United States

                           Constitution and similar protections in the Illinois Constitution. Opening Br.

                           at 42-46.

                                    The Court must construe the Privacy Act in a manner that promotes the

                           Act’s purpose while avoiding, if possible, “a construction that would raise

                           doubts as to its validity.” People v. Glenn, 2018 IL App (1st) 161331, ¶ 22

                           (citing People v. Nastasio, 19 Ill. 2d 524, 529 (1960)). If a statute’s construction

                           is doubtful, the Court must “resolve the doubt in favor of the statute’s validity.”

                           Bonaguro v. Cnty. Officers Electoral Bd., 158 Ill. 2d 391, 397 (1994) (citation

                           omitted). “Surely the potential imposition of crippling liability on businesses

                           is a proper consequence to consider.” Dissent ¶ 62.

                                    On its face, the Opinion’s construction results—at a minimum—in

                           constitutional doubt.              The Opinion initially overlooks these constitutional

                           concerns because it found the Act’s language “clear” and as a result, the

                           language “must be given effect.” Opinion ¶ 40. At the same time, however, the

                           Opinion recognizes its construction—potentially resulting in $17.1 billion in

                           liability for one defendant alone—“may be harsh, unjust, absurd or unwise.”

                           Id. (citation and internal quotation marks omitted).                  Indeed, the Opinion

                           imposes per scan claim accrual despite Plaintiff’s Counsel arguing against this

                           outcome at oral argument because of the potential constitutional issues




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                           created: “I think there are limitations on due process, on constitutional

                           questions . . . . ” Oral Argument Tr. at 25:9-25 (May 17, 2022).

                                    The Court must presume the General Assembly intended to enact

                           constitutional legislation (Bonaguro, 158 Ill. 2d at 397), but the Opinion does

                           not presume as much in finding the Privacy Act’s language “clear” while also

                           requesting clarification of legislative intent to avoid resulting in excessive,

                           absurd, unjust, unwise, and likely unconstitutional, damages. See Opinion ¶

                           43. Through its own appeal to the legislature, discussed above, the Opinion

                           acknowledges that its Privacy Act construction will result in unconstitutional

                           damages.

                                    Under the constitutional avoidance doctrine, the Court must consider

                           these severe consequences and construe the Privacy Act so as to “affirm [its]

                           constitutionality and validity, if reasonably possible.” Glenn, 2018 IL App (1st)

                           161331, ¶ 22; Dissent ¶ 61 (“the majority’s construction of the Act could easily

                           lead to annihilative liability” (quoting People v. Shephard, 152 Ill. 2d 489, 499

                           (1992)). Here, it is more than reasonably possible. As discussed above, first-

                           use accrual is consistent with the Privacy Act’s plain language and this Court’s

                           precedent in Rosenbach. The Court should consider its duties to presume that

                           the General Assembly intended the Privacy Act to be constitutional and to

                           interpret the Act in a way that avoids constitutional problems. This issue

                           warrants reconsideration as well.




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                                                                 CONCLUSION

                                    For the foregoing reasons, White Castle respectively requests that the

                           Court vacate the Opinion and grant rehearing.



                           Dated: March 10, 2023                      Respectfully submitted,

                                                                      WHITE CASTLE SYSTEM, INC.

                                                                      By:    /s/Melissa A. Siebert

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                                                        CERTIFICATE OF COMPLIANCE

                                    Pursuant to Supreme Court Rule 341(c), I certify that this Petition for

                           Rehearing conforms to the requirements of Rules 367, 341(a) and (b). The

                           length of this Petition, excluding the pages containing the Rule 341(d) cover,

                           the Rule 341(c) certificate of compliance, the certificate of service, and those

                           matters contained in the appendix, if any, is 27 pages.



                                                                       /s/ Melissa A. Siebert
                                                                       Melissa A. Siebert




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                                     NOTICE OF FILING and PROOF OF SERVICE

                                                       In the Supreme Court of Illinois

                  LATRINA COTHRON,                                                 )
                                                                                   )
                                                       Plaintiff-Appellee,         )
                                                                                   )
                  v.                                                               )      No.   128004
                                                                                   )
                  WHITE CASTLE SYSTEM, INC.,                                       )
                                                                                   )
                                                       Defendant-Appellant.        )

                           The undersigned, being first duly sworn, deposes and states that on March 10,

                  2023, there was electronically filed and served upon the Clerk of the above Court the

                  Petition for Rehearing. On March 10, 2023, service of the Petition will be

                  accomplished via the filing manager, Odyssey EfileIL, to the following counsel of

                  record:

                                           Ryan F. Stephan (rstephan@stephanzouras.com)
                                            James B. Zouras (jzouras@stephanzouras.com)
                                           Andrew C. Ficzko (aficzko@stephanzouras.com)
                                          Teresa Marie Becvar (tbecvar@stephanzouras.com)
                                                     STEPHAN ZOURAS, LLP

                           Within five days of acceptance by the Court, the undersigned states that

                  thirteen copies of the Petition bearing the court’s file-stamp will be sent to the above

                  Court.

                                                                             /s/ Melissa A. Siebert
                                                                             Melissa A. Siebert

                           Under penalties as provided by law pursuant to Section 1-109 of the Code of

                  Civil Procedure, the undersigned certifies that the statements set forth in this

                  instrument are true and correct.

                                                                             /s/ Melissa A. Siebert
                                                                             Melissa A. Siebert




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